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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

 UNITED STATES OF AMERICA                           *     CRIMINAL NO. 06-30037-04


 VERSUS                                             *     JUDGE JAMES


 FADHL M. MOHAMED                                   *     MAGISTRATE JUDGE HAYES


                  REPORT AND RECOMMENDATION ON
   FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE


        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

Guilty Plea, and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

        This cause came before the undersigned U. S. Magistrate Judge for a change of plea hearing

and allocution of the defendant, Fadhl M. Mohamed, on May 11, 2007. Defendant was present with

his counsel, Mr. Charles Kincade.

        After said hearing, and for reasons orally assigned, it is the finding of the undersigned that

the defendant is fully competent, that his plea of guilty is knowing and voluntary, and his guilty plea

to Count Two of the indictment, the forfeiture allegations contained therein (all three counts), and

his obligation to provide restitution to the victims of all counts, is fully supported by an oral factual

basis for each of the essential elements of the offense. Defendant was present in the court room for

the oral factual basis given in connection with the change of plea hearing for co-defendant Taha

Sharaf Masoud Alyousefi, and, except for taking issue with the amount of the check cashing fees and

the allegation that he knew that the purchased goods were counterfeit, he agreed with the facts stated

therein as support for his plea as well. Therefore the undersigned U. S. Magistrate Judge

recommends that the District Court ACCEPT the guilty plea of the defendant, Fadhl M. Mohamed,
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in accordance with the terms of the plea agreement filed in the record of these proceedings, and that

Fadhl M. Mohamed be finally adjudged guilty of the offense charged in Count Two of the

Indictment, the forfeiture allegations contained therein (all three counts), and his obligation to

provide restitution to the victims of all counts.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties have

ten (10) business days from service of this Report and Recommendation to file specific, written

objections with the Clerk of Court. A party may respond to another party’s objections within ten

(10) business days after being served with a copy thereof. A courtesy copy of any objection or

response or request for extension of time shall be furnished to the District Judge at the time of filing.

Timely objections will be considered by the District Judge before he makes a final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

REPORT WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE

SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

        THUS DONE AND SIGNED at Monroe, Louisiana, this 14th day of May, 2007.




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